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 1   DAVID L. NEALE (SBN 141225)
     J.P. FRITZ (SBN 245240)
 2   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 3   Los Angeles, California 90067
     Telephone: (310) 229-1234
 4   Facsimile: (310) 229-1244
 5   Email: DLN@LNBYB.COM, JPF@LNBYB.COM

 6   Counsel for Official Committee of Unsecured Creditors

 7
                               UNITED STATES BANKRUPTCY COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9                                   LOS ANGELES DIVISION

10   In re:                                          )   Case No. 2:19-bk-14989-WB
                                                     )
11                                                   )   Chapter 11
     SCOOBEEZ, et al.                                )
12                                                   )   Jointly Administered With Case Nos.:
     Debtors and Debtors in Possession.              )   2:19-bk-14991-WB and 2:19-bk-14997-WB
13                                                   )
     _____________________________________           )   COMMITTEE’S LIMITED RESPONSE TO
14                                                   )   DEBTORS’ NOTICE OF FILING OF
     Affected Debtor(s):                             )   HILLAIR NOTICE OF TERMINATION OF
15                                                   )
                                                     )   STALKING     HORSE       PURCHASE
       All Debtors
                                                     )   AGREEMENT [Dkt. No. 435]
16
       Scoobeez, Inc.                                )
17                                                   )
                                                     )    Hearing:
       Scoobeez Global, Inc.                         )    Date:       November 18, 2019
18
                                                     )    Time:       10:00 a.m.
19     Scoobur LLC                                   )    Location:   255 E. Temple St.
                                                     )
                                                     )                Courtroom 1375, 13th Floor
20                                                                    Los Angeles, CA 90012
                                                     )
21                                                   )
                                                     )
22                                                   )
                                                     )
23                                                   )
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24                                                   )
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25                                                   )

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 1           The Official Committee of Unsecured Creditors (the “Committee”) in the jointly
 2    administered bankruptcy cases of Scoobeez, Inc. and Scoobeez Global, Inc. (each a “Debtor”
 3    and, collectively, the “Debtors”), debtors and debtors in possession herein, respectfully submits
 4    its limited response to the Debtors’ Notice of Filing of Hillair Notice of Termination of Stalking
 5    Horse Purchase Agreement (the “Notice”) [Dkt. No. 435].
 6           Based upon the Notice, and the letter from Hillair Capital Management LLC attached as
 7    Exhibit “A” to the Notice, the Committee respectfully requests that the Court enter an order
 8    denying the Motion for Entry of Order (I) Authorizing the Sale of Substantially All of the Assets
 9    of Debtor Outside the Ordinary Course of Business, Free and Clear of All Liens, Claims,
10    Encumbrances and Interests, Subject to Higher and Better Bids; (II) Authorizing the Assumption
11    and Assignment of Certain Executory Contracts and Unexpired Leases in Connection with Such
12    Sale; and (III) Granting Related Relief (the “Sale Motion”) [Dkt. No. 329].
13

14    Dated: November 14, 2019                     Official Committee of Unsecured Creditors

15                                                 By:    /s/ John-Patrick M. Fritz
                                                          David L. Neale
16                                                        John-Patrick M. Fritz
                                                          LEVENE, NEALE, BENDER,
17                                                        YOO & BRILL L.L.P.
18                                                        Counsel for the Official
                                                          Committee of Unsecured Creditors
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                                       PROOF OF SERVICE OF DOCUMENT
 1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2    address is:

 3    10250 Constellation Blvd., Suite 1700, Los Angeles, CA 90067

 4    A true and correct copy of the foregoing document entitled (specify): COMMITTEE’S LIMITED
      RESPONSE TO DEBTORS’ NOTICE OF FILING OF HILLAIR NOTICE OF TERMINATION OF
 5    STALKING HORSE PURCHASE AGREEMENT [Dkt. No. 435] will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 6    below:

 7    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 8    hyperlink to the document. On (date) November 14, 2019, I checked the CM/ECF docket for this
      bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
 9    Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                 Service information continued
10
      on attached page
11    2. SERVED BY UNITED STATES MAIL:
      On November 14, 2019, I served the following persons and/or entities at the last known addresses in this
12    bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
13    constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
14
                                                                                 Service information continued
15    on attached page

16    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
17    November 14, 2019, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
18    email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
19
      Via Attorney Service
20    The Honorable Julia W. Brand
      U.S. Bankruptcy Court, Suite 1382
21    255 E. Temple St
      Los Angeles, CA 90012
                                                                                 Service information continued
22    on attached page
23    I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
24
       November 14, 2019,             Jason Klassi                          /s/ Jason Klassi
25     Date                     Printed Name                                Signature

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      2:19-bk-14989-WB Notice will be electronically mailed to:
 1
      Richard T Baum on behalf of Stockholder Rosenthal Family Trust
 2    rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com

 3    Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
      richard.esterkin@morganlewis.com
 4
      Richard W Esterkin on behalf of Defendant Amazon Logistics, Inc.
 5    richard.esterkin@morganlewis.com

 6    John-Patrick M Fritz on behalf of Attorney Official Committee Of Unsecured Creditors
      jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
 7
      John-Patrick M Fritz on behalf of Creditor Committee Official Committee of Unsecured Creditors
 8    jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

 9    John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
      jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
10
      John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the Estates of
      Scoobeez and Scoobeez Global, Inc.
11    jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
12    Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
      shenderson@gibbsgiden.com
13
      Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
14    BKClaimConfirmation@ftb.ca.gov

15    David Brian Lally on behalf of Attorney Grigori Sedrakyan
      davidlallylaw@gmail.com
16
      David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family Trust
17    UTD 3/25/1988
      davidlallylaw@gmail.com
18
      Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
19    alvin.mar@usdoj.gov, dare.law@usdoj.gov

20    Ashley M McDow on behalf of Debtor Scoobeez
      amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
21
      Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.
      amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
22
      Ashley M McDow on behalf of Debtor Scoobur LLC
23    amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
24    Ashley M McDow on behalf of Plaintiff Scoobeez, Inc.
      amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
25
      Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
26    smiller@tharpe-howell.com

27    Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley Financial Services
      smiller@tharpe-howell.com
28


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      Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
 1    smiller@tharpe-howell.com

 2    Kevin H Morse on behalf of Creditor Avitus Group, Inc.
      kmorse@clarkhill.com, blambert@clarkhill.com
 3
      Shane J Moses on behalf of Debtor Scoobeez
 4    smoses@foley.com

 5    Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
      smoses@foley.com
 6
      Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
 7    jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

 8    Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
      jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
 9
      Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS Portfolio Services, LP
      rejoy.nalkara@americaninfosource.com
10
      Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
11    anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
12    Jennifer L Nassiri on behalf of Creditor Hillair Capital Management, LLC
      jennifernassiri@quinnemanuel.com
13
      David L. Neale on behalf of Attorney Official Committee Of Unsecured Creditors
14    dln@lnbyb.com

15    David L. Neale on behalf of Creditor Committee Official Committee of Unsecured Creditors
      dln@lnbyb.com
16
      David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill L.L.P.
17    dln@lnbyb.com

18    Aram Ordubegian on behalf of Interested Party Courtesy NEF
      ordubegian.aram@arentfox.com
19
      Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
20    hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com

21    Gregory M Salvato on behalf of Creditor Azad Baban
      gsalvato@salvatolawoffices.com,
      calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
22
      Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
23    gsalvato@salvatolawoffices.com,
      calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
24
      Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
25    jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

26    Steven M Spector on behalf of Creditor Hillair Capital Management LLC
      sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
27
      United States Trustee (LA)
28    ustpregion16.la.ecf@usdoj.gov



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 1    Kimberly Walsh on behalf of Creditor Texas Comptroller of Public Accounts
      bk-kwalsh@texasattorneygeneral.gov
 2
      Eric D Winston on behalf of Creditor Hillair Capital Management LLC
 3    ericwinston@quinnemanuel.com

 4    Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
      ericwinston@quinnemanuel.com
 5
      Eric K Yaeckel on behalf of Creditor Arturo Vega
 6    yaeckel@sullivanlawgroupapc.com

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